                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     SOUTHERN DIVISION

                                            Case No. 7:23-CV-897


    INRE:                                           )
                                                    )
    CAMP LEJEUNE WATER LITIGATION                   )                     ORDER
                                                    )
    This Document Relates To:                       )
    ALL CASES                                       )
                                                    )


            This matter is before the court sua sponte regarding certain pretrial issues in the Camp

    Lejeune Water Litigation. 1 See Fed. R. Civ. P. 1, 16(c)(2)(L), 42(a)(3); CLJA, Pub. L. No. 117-

    168, § 804, 136 Stat. 1759, 1802--04.

            The court is phasing this litigation into separate "Tracks." [DE-23] 8 (Case Management

    Order No. 2 or "CMO 2"). Each Track includes several different illnesses and proceeds on its own

    pretrial timeline. The ''Track I Illnesses" are (1) bladder cancer, (2) kidney cancer, (3) leukemia,

    (4) Parkinson's disease, and (5) non-Hodgkin's Lymphoma. Id. XI.A; see also [DE-232].

            Before Track I Trials commence, the court will resolve two threshold issues: (1) toxic

    chemical exposure from the water at Camp Lejeune and (2) general causation for the Track I

    Illnesses.    As the court recently observed, ''this case is about water[.]"      [DE-207] 9:8-11.

    Moreover, "individuals pursuing actions under the [CLJA] bear the burden of demonstrating their

    harm was caused by exposure, necessitating they establish both general and specific causation."

    [DE-227] 1. Plaintiffs must present sufficient proof to conclude that exposure to the water at Camp

    Lejeune can cause a particular type of harm, e.g., a Track I Illness. Id. at 4 (citing Nix v. Chemours

    Co., No. 7:17-CV-189, 2023 WL 6471690, at *8 (E.D.N.C. Oct. 4, 2023) (unpublished)); Fed. R.


1The court has discussed in prior orders its inherent powers and those in the Federal Rule to efficiently
manage its docket. See [DE-116] 3; [DE-146] 3.

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Evid. 702.

       First, Plaintiffs must establish the alleged chemicals in the water at Camp Lejeune from

1953 to 1987. See CLJA § 804(b). For example, what were the levels of benzene, TCE, PCE, and

vinyl chloride present at the Hadnot Point, Holcomb Boulevard, and Tarawa Terrace water

distribution systems in 1977? Defendant will not stipulate to such facts. Thus, Plaintiffs must

prove them. Cf [DE-207] 7:18-8:5; see also [DE-50] 1-2. The court must understand the

chemicals in the water at Camp Lejeune during the operative period.

       Second, Plaintiffs must satisfy their general causation burden for each Track 1 Illness.

Restated, Plaintiffs must prove a "causal relationship" between exposure to the chemicals in the

water at Camp Lejeune and each Track 1 Illness generally. CLJA § 804(c)(2); see [DE-227] 4-8.

       To resolve these issues, the court will order an expedited period of expert discovery limited

to those Track 1 issues followed by Daubert and dispositive motion briefing, if necessary. See

Fed. R. Evid. 702; Daubert v. Merrell Dow Phann., Inc., 509 U.S. 579, 591-95 (1993).

       ACCORDINGLY, IT IS SO ORDERED THAT:

       A.      The parties shall meet and confer regarding resolution of these Track 1 issues; and

       B.      Not later than July 12, 2024, the parties shall jointly submit a proposed pretrial

schedule for these Track 1 issues, including timelines for limited expert discovery as well as

Daubert and dispositive motion briefing.

       SO ORDERED. This 2 ~ day of June, 2024.



                                                             United States Magistrate Judge




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